                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                        )    DOCKET NO. 3:00-cr-209-GCM
                                                )                3:96-cr-66-GCM
          v.                                    )
                                                )
WILLIE ANDREW COLEMAN                           )
                                                )



          UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an Order directing that the

charges in above referenced cases be dismissed without prejudice.

          IT IS HEREBY ORDERED that the above-referenced cases be dismissed without

prejudice for the reasons set out in the Government’s motion.

          The Clerk is directed to certify copies of this Order to the United States Attorney's

Office.

          SO ORDERED.                               Signed: November 4, 2011




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